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GASD First Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(B)

Page | of 2 (Page 2 Not for Public Disclosure)

UNITED STATES DISTRICT COURT!S,22 7105 (uF

Southern District of Georgia
Statesboro Division

United States of America
Vv.

Horace James McCray
a.k.a. “Mook”

Date of Original Judgment: May 6, 2008

Date of Previous Amended Judgment: N/A
(Use Date of Last Amended Judgment if Any)

for the

201I9SEP -9 AKII: 38

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Case No: 6:07CR00029-1
USM No: 13376-021

Lance J. Hamilton

‘Defendant Ss Attorney

ORDER REGARDING MOTION FOR SENTENCE REDUCTION
PURSUANT TO 18 U.S.C. § 3582(c)(1)(B)

Upon motion of [XJ the defendant (_] the Director of the Bureau of Prisons (J the court under 18 U.S.C.
§ 3582(c)(1)(B) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
DJ DENIED.
the last judgment issued) of

Except as otherwise provided, all provisions of the judgment dated

IT IS SO ORDERED.

Order Date: Ve Z0/14

Effective Date:

J. Randal :
United States District Court
Southern District of Georgia

(-] GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
months is reduced to

May 6, 2008 shall remain in effect.

  

 

   
  

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